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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                        CASE NO.
   ADIDAS AG, ADIDAS INTERNATIONAL
   MARKETING B.V., and ADIDAS AMERICA, INC.,

                          Plaintiffs,

   vs.

   THE INDIVIDUALS, BUSINESS ENTITIES, AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A,”

                          Defendants.
                                                               /

                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiffs, adidas AG, adidas International Marketing B.V., and adidas America, Inc.,

  (collectively “Plaintiffs”), hereby sue Defendants, the Individuals, Business Entities, and

  Unincorporated Associations identified on Schedule “A” (collectively “Defendants”).

  Defendants are promoting, selling, offering for sale and/or distributing goods within this district

  using counterfeits and confusingly similar imitations of Plaintiffs’ trademarks within this district

  through various Internet based e-commerce stores and social media accounts using the seller

  identities set forth on Schedule “A” (the “Seller IDs”). In support of their claims, Plaintiffs

  allege as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, common law unfair competition, and common law trademark infringement

  pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a), and The All Writs Act, 28 U.S.C. § 1651(a), and

  Florida’s common law. Accordingly, this Court has subject matter jurisdiction over this action

  pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental

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  jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims because those claims

  are so related to the federal claims that they form part of the same case or controversy.

          2.     Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district through at least the Internet based e-

  commerce stores and social media accounts 1 accessible in Florida and operating under the Seller

  IDs. Alternatively, Defendants are subject to personal jurisdiction in this district pursuant to

  Federal Rule of Civil Procedure 4(k)(2) because (i) Defendants are not subject to jurisdiction in

  any state’s court of general jurisdiction; and (ii) exercising jurisdiction is consistent with the

  United States Constitution and laws.

          3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens engaged in infringing activities and causing harm within this

  district by advertising, offering to sell, selling and/or shipping infringing products into this

  district.

                                          THE PLAINTIFFS

          4.     Plaintiff adidas AG (“adidas AG”) is a joint stock company organized and

  existing under the laws of the Federal Republic of Germany, having its office and principal place

  of business at Postach 1120, D-91072 Herzogenaurach, Federal Republic of Germany. adidas

  AG is currently, and for years has been, one of the world’s leading manufacturers of athletic




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   Some Defendants use their Seller IDs in tandem with electronic communication via private
  messaging applications and/or services in order to complete their offer and sale of counterfeit
  versions of Plaintiffs’ branded products. Specifically, consumers are able to browse listings of
  Plaintiffs’ branded products online via Defendants’ respective Seller IDs, ultimately directing
  customers to send inquiries, exchange data, and complete purchases via electronic
  communication with those Defendants.
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  footwear and apparel, including products bearing the distinctive              ,     ,   , Three-

  Stripe Mark, THE BRAND WITH THE 3 STRIPES Mark, BOOST Mark, STAN SMITH Mark,

  NMD Mark, SPLY-350 Mark, and SUPERSTAR Mark.

          5.     Plaintiff adidas International Marketing B.V. (“adidas International”) is a

  corporation organized and existing under the laws of Netherlands, having its principal place of

  business in the Netherlands. adidas International is wholly owned by adidas AG and its

  affiliates.

          6.     Plaintiff adidas America, Inc. (“adidas America”) is a corporation organized and

  existing under the laws of the State of Oregon, having its principal place of business at 5055 N.

  Greeley Avenue, Portland, Oregon, 97217. adidas America is wholly owned by adidas AG and

  its affiliates, and within this country adidas America is a licensed distributor of adidas-branded

  merchandise, including goods bearing the distinctive               ,    ,    , Three-Stripe Mark,

  THE BRAND WITH THE 3 STRIPES Mark, BOOST Mark, STAN SMITH Mark, NMD Mark,

  SPLY-350 Mark, and SUPERSTAR Mark. adidas AG, adidas International, and adidas America

  shall be referred to herein collectively as “adidas.”

          7.     Plaintiffs’ goods are sold through various channels of trade within the State of

  Florida, including this district. Defendants, through the sale and offer to sell counterfeit and

  infringing versions of Plaintiffs’ branded products, are directly and unfairly competing with

  Plaintiffs’ economic interests in the United States, including within the State of Florida and

  causing Plaintiffs irreparable harm and damage within this jurisdiction.

          8.     Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their trademark rights at the hands of counterfeiters and infringers, such

  as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’ trademarks for the



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  twin purposes of (i) duping and confusing the consuming public and (ii) earning substantial

  profits across their e-commerce stores. The natural and intended byproduct of Defendants’

  combined actions is the erosion and destruction of the goodwill associated with Plaintiffs’ names

  and associated trademarks, as well as the destruction of the legitimate market sector in which

  they operate.

         9.       To combat the indivisible harm caused by the combined actions of Defendants

  and others engaging in similar conduct, each year Plaintiffs expend significant monetary and

  other resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement such as field training guides and

  seminars. The exponential growth of counterfeiting over the Internet, particularly through online

  marketplace and social media platforms, has created an environment that require companies such

  as Plaintiffs to expend significant resources across a wide spectrum of efforts in order to protect

  both consumers and themselves from the confusion and erosion of the goodwill embodied in

  Plaintiffs’ brands.

                                        THE DEFENDANTS

         10.      Defendants are individuals, business entities of unknown makeup, or

  unincorporated associations each of whom, upon information and belief, either reside and/or

  operate in foreign jurisdictions, redistribute products from the same or similar sources in those

  locations, and/or ship their goods from the same or similar sources in those locations to

  consumers as well as shipping and fulfillment centers within the United States to redistribute

  their products from those locations. Defendants have the capacity to be sued pursuant to Federal

  Rule of Civil Procedure 17(b). Defendants target their business activities toward consumers

  throughout the United States, including within this district, through the operation of commercial



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  Internet based e-commerce stores via Internet marketplace websites and/or social media websites

  under the Seller IDs.

         11.     Some Defendants operate under the Seller IDs via third-party social media

  websites in tandem with electronic communication via private messaging applications and/or

  services, thereby creating an interconnected ecosystem which functions as an online marketplace

  operation.

         12.     Defendants use aliases in conjunction with the operation of their businesses,

  including but not limited to those identified by Defendant Number on Schedule “A.”

         13.     Defendants are the past and/or present controlling forces behind the sale of

  products using counterfeits and infringements of Plaintiffs’ trademarks as described.

         14.     Defendants directly engage in unfair competition with Plaintiffs by advertising,

  offering for sale, and selling goods each using counterfeits and infringements of one or more of

  Plaintiffs’ trademarks to consumers within the United States and this district through Internet

  based e-commerce stores and social media accounts using, at least, the Seller IDs as well as

  additional names and seller identification aliases, not yet known to Plaintiffs. Defendants have

  purposefully directed some portion of their illegal activities towards consumers in the State of

  Florida through the advertisement, offer to sell, sale, and/or shipment of counterfeit and

  infringing branded versions of Plaintiffs’ goods into the State.

         15.     Defendants have registered, established, or purchased, and maintained the Seller

  IDs. Defendants may have engaged in fraudulent conduct with respect to the registration of the

  Seller IDs by providing false and/or misleading information during the registration or

  maintenance process related to their respective Seller IDs. Many Defendants have registered




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  and/or maintained their Seller IDs for the sole purpose of engaging in unlawful infringing and

  counterfeiting activities.

          16.     Defendants will likely continue to register or acquire new seller identification

  aliases, as well as related payment accounts, for the purpose of selling and offering for sale

  goods using counterfeit and confusingly similar imitations of Plaintiffs’ trademarks unless

  preliminarily and permanently enjoined.

          17.     Defendants’ Seller IDs, associated payment accounts, and any other alias seller

  identification names, used in connection with the sale of counterfeit and infringing goods using

  one or more of Plaintiffs’ trademarks are essential components of Defendants’ online activities

  and are the means by which Defendants further their counterfeiting and infringement scheme and

  cause harm to Plaintiffs. Moreover, Defendants are using Plaintiffs’ famous names and/or

  trademarks to drive Internet consumer traffic to their e-commerce stores and social media

  accounts operating under the Seller IDs, thereby increasing the value of the Seller IDs and

  decreasing the size and value of Plaintiffs’ legitimate marketplace at Plaintiffs’ expense.

                               COMMON FACTUAL ALLEGATIONS

          adidas’s Trademark Rights

          18.     adidas is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. adidas has used its famous

  and distinctive trademarks,            ,       ,       , Three-Stripe Mark, THE BRAND WITH

  THE 3 STRIPES Mark, BOOST Mark, STAN SMITH Mark, NMD Mark, SPLY-350 Mark, and

  SUPERSTAR Mark (collectively, the “adidas Marks”), for many years in connection with the

  above-mentioned goods. The adidas Marks signify the quality and reputation of adidas products.




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         19.     adidas is the owner of multiple trademark registrations for the adidas Marks,

  including the following valid trademark registrations, issued by the United States Patent and

  Trademark Office:


                       Registration     Registration
     Trademark                                                        Class / Goods
                        Number             Date


                         0,870,136      May 27, 1969 IC25. Athletic Training Suits.

                                                     IC25. sport shoes namely, track and field
                                                     shoes, baseball, boxing, football, skating,
                                                     golf, and soccer shoes; sportswear
       ADIDAS            0,891,222      May 19, 1970 namely, suits, shorts, pants, tights, shirts,
                                                     gloves, and the like; jerseys; socks; sport
                                                     shoes namely, track and field training
                                                     shoes, basketball shoes, and tennis shoes.
                                                     IC 018. tote bags.
                                                     IC 25. specific purpose athletic shoes;
                                        November 20,
                         0,973,161                   general purpose sport shoes, sportswear-
                                            1973
                                                     namely, suits, shorts, pants, tights, shirts,
                                                     jerseys, socks, and gloves.
                                                      IC 025. Sportswear-namely, (( suits,
                                                      shorts, pants, tights, shirts, jerseys,
                                         October 4,   socks, gloves, jackets, coats, swim wear,
                         1,253,013
                                            1983      sweaters, caps, pullovers, warmup suits,
                                                      [ rain suits, ski suits, ] jump suits, )) ((
                                                      boots, shoes )) (( and slippers ))
                                                     IC 025. Sportswear-Namely, Suits,
                                                     Shorts, Pants, Tights, Shirts, Jerseys,
                                         October 16,
                         1,300,627                   Socks, Gloves, Jackets, Coats,
                                            1984
                                                     Swimwear, Sweaters, Caps, Pullovers,
                                                     Warm-Up Suits, Boots, Shoes, Slippers.
                                                     IC 025. Sportswear-Namely, Suits,
                                                     Shorts, Pants, Tights, Shirts, Jerseys,
                                        December 18, Socks, Gloves, Jackets, Coats,
                         1,310,140
                                            1984     Swimwear, Sweaters, Caps, Pullovers,
                                                     Warm-Up Suits, Rain Suits, Ski Suits,
                                                     Jump Suits, Boots, Shoes, Slippers.
                                                     IC 025. boots, slippers, sandals; shoes,
    THE BRAND
                                         February 4, boots and after ski boots for hiking and
    WITH THE 3           1,674,229
                                            1992     trekking, athletic shoes and general-
     STRIPES
                                                     purpose sports shoes.

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                                 January 11,
                    1,815,956                  IC 25. athletic footwear
                                    1994


                    1,833,868   May 3, 1994    IC 25. athletic footwear


                                November 19, IC 025. Sports and leisure wear, namely
                    2,016,963
                                   1996      jackets.

                                               IC 025. Sports and leisure wear, namely
                    2,058,619   May 6, 1997
                                               shirts
                                               IC 025. sports and leisure wear, namely
                                               shorts, pants, shirts, T-shirts, jerseys,
                                               tights, socks, gloves, jackets, swimwear,
                                 August 11,    sweaters, caps and hats, pullovers, warm-
                    2,179,796
                                   1998        up suits, rain-suits, ski suits, jump suits,
                                               boots, slippers, sandals, specific purpose
                                               athletic shoes, and general purpose sport
                                               shoes
                                September 21,
                    2,278,589                 IC 025. athletic and leisure footwear.
                                    1999

                                September 21, IC 25. sports and leisure wear, namely,
                    2,278,591
                                    1999      shorts.

                                 October 12,   IC 025. sports and leisure wear, namely
                    2,284,308
                                    1999       pants.
                                             IC 018. All purpose sport bags, athletic
                                             bags, traveling bags, backpacks,
                                             knapsacks.
                                             IC 025. Sports and leisure wear, namely,
                                             shorts, pants, shirts, T-shirts, jerseys,
                                             socks, gloves, jackets, swimwear, caps
                                December 12,
                    2,411,802                and hats, pullovers, sweat-shirts, sweat
                                   2000
                                             suits, track suits, warm-up suits; boots,
                                             sandals, specific purpose athletic shoes
                                             and general all purpose sports shoes.
                                             IC 028. Sports balls and playground balls;
                                             guards for athletic use, namely, shin
                                             guards, knee guards and leg guards.




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                                December 13,     IC 025. Clothing, namely, T-Shirts,
                    3,029,127
                                   2005          sweatshirts, jackets and coats.

                                December 13,
                    3,029,129                    IC 025. Footwear.
                                   2005

                                December 13,
                    3,029,135                    IC 025. Footwear.
                                   2005
                                               IC 025. Clothing, namely, shirts, t-
                    3,087,329    May 2, 2006 shirts, sweatshirts, vests, jackets and
                                               coats.
                                              IC 009. Optical apparatus and
                                              instruments, namely, eyeglasses and
                                              sunglasses.
                                              IC 014. Horological and chronometric
                                              instruments, namely, watches
                                              IC 018. Leather and imitations of leather,
                                              and goods made from these materials in
                                              the nature of bags for general and sport
                                              use, namely, handbags, tote bags, waist
                                              packs, overnight bags, backpacks,
                                              knapsacks and beach bags; trunks;
                                              traveling bags for general and sport use;
                                              leather and imitations of leather and
                                              goods made from these materials,
                    3,104,117   June 13, 2006
                                              namely, wallets, briefcases.
                                              IC 025. Sports and leisure wear, namely
                                              suits, shorts, pants, sweatpants, skirts,
                                              skorts, dresses, blouses, shirts, T-shirts,
                                              sleeveless tops, polo shirts, vests, jerseys,
                                              sweaters, sweatshirts, pullovers, coats,
                                              jackets, track suits, training suits, warm-
                                              up suits, swimwear, underwear, socks,
                                              gloves, scarves, wristbands and belts;
                                              headgear, namely caps, hats, visors,
                                              headbands; athletic footwear and leisure
                                              foot wear, namely boots, sandals, specific
                                              purpose athletic shoes and general
                                              purpose sports shoes.
                                February 24,    IC 025. Clothing, namely, shirts;
                    3,580,958
                                   2009         footwear.




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     STAN SMITH           3,590,187     March 17, 2009 IC 025. Footwear.


          NMD             5,218,628       June 6, 2017    IC 025. Footwear.


                                          February 27,
       SPLY-350           5,413,495                       IC 025. Footwear
                                             2018

                                                        IC 025. Footwear; the aforementioned
     SUPERSTAR            5,871,181     October 1, 2019 goods not related to the topic, theme or
                                                        subject of historical airplanes.

   The adidas Marks are used in conjunction with the design, manufacture, and distribution of

   quality goods in the categories identified above. True and correct copies of the Certificates of

   Registration for the adidas Marks are attached hereto as Composite Exhibit “1.”

          20.     The adidas Marks have been used in interstate commerce to identify and

   distinguish adidas products for an extended period of time and serve as symbols of adidas’s

   quality, reputation, and goodwill.

          21.     The adidas Marks are well-known and famous and have been for many years.

   adidas has expended substantial resources developing, advertising and otherwise promoting the

   adidas Marks. Specifically, adidas has used the adidas Marks in connection with its frequent

   sponsorship of sports tournaments and organizations, as well as professional athletes and

   collegiate sports teams. For example, adidas has long-term relationships with the University of

   Nebraska, and the University of Louisville. Among many others, NBA stars Derrick Rose and

   James Harden, NFL stars Aaron Rodgers and Dak Prescott, NHL star P.K. Subban, baseball

   player Kris Bryant, and soccer stars David Beckman and Lionel Messi all are sponsored by

   adidas. For many years, adidas has been a sponsor of the World Cup soccer tournament, has

   sponsored the world-famous Boston Marathon for more than a decade, and has sponsored many


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   other events, teams, and individuals. Prominent use of the adidas Marks in connection with these

   sponsorship activities has further enhanced the adidas Marks’ recognition and fame.

          22.     adidas has extensively used, advertised, and promoted the adidas Marks in the

   United States in association with the sale of quality products. adidas has expended enormous

   resources promoting the adidas Marks and products bearing the adidas Marks. In recent years,

   annual sales of products using the adidas Marks have totaled in the billions of dollars globally

   and in the hundreds of millions of dollars within the United States.

          23.     The adidas Marks have achieved secondary meaning among consumers as

   identifiers of quality goods as a result of adidas’s advertisement, promotion, and sale of such

   goods thereunder.

          24.     As a result of adidas’s efforts, members of the consuming public readily identify

   merchandise using or sold under the adidas Marks, as being quality merchandise sponsored and

   approved by adidas.

          25.     adidas has carefully monitored and policed the use of the adidas Marks and has

   never assigned or licensed the adidas Marks to any Defendant in this matter.

          26.     Genuine goods bearing the adidas Marks are widely legitimately advertised and

   promoted by adidas, authorized distributors and unrelated third parties via the Internet. Visibility

   on the Internet, particularly via Internet search engines such as Google, Yahoo!, and Bing is

   important to adidas’s overall marketing and consumer education efforts. Thus, adidas expends

   significant monetary and other resources on Internet marketing and consumer education,

   including search engine optimization (“SEO”) and search engine marketing (“SEM”) strategies.

   Those strategies allow adidas and its authorized retailers to educate consumers fairly and

   legitimately about the value associated with the adidas Marks and the goods sold thereunder.



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   Similarly, Defendants’ individual seller stores are indexed on search engines and compete

   directly with adidas for space in the search results.

          Defendants’ Infringing Activities

          27.     In blatant disregard of Plaintiffs’ rights, Defendants are each promoting,

   advertising, distributing, selling, and/or offering for sale goods in interstate commerce using

   counterfeits and confusingly similar imitations of one or more of the adidas Marks (the

   “Counterfeit Goods”) through at least the Internet based e-commerce stores and social media

   accounts operating under the Seller IDs. Specifically, Defendants are using the adidas Marks to

   initially attract online consumers and drive them to Defendants’ e-commerce stores and social

   media accounts operating under the Seller IDs. Defendants are each using identical copies of

   one or more of the adidas Marks for different quality goods. Plaintiffs have used the adidas

   Marks extensively and continuously before Defendants began offering counterfeit and

   confusingly similar imitations of Plaintiffs’ merchandise.

          28.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

   Plaintiffs’ genuine goods. Defendants are actively using, promoting and otherwise advertising,

   distributing, selling and/or offering for sale substantial quantities of their Counterfeit Goods with

   the knowledge and intent that such goods will be mistaken for the genuine quality goods offered

   for sale by Plaintiffs despite Defendants’ knowledge that they are without authority to use the

   adidas Marks. Defendants’ actions are likely to cause confusion of consumers at the time of

   initial interest, sale, and in the post-sale setting, who will believe all of Defendants’ goods are

   genuine goods originating from, associated with, and/or approved by Plaintiffs.

          29.     Defendants advertise their e-commerce stores and social media accounts,

   including their Counterfeit Goods offered for sale, to the consuming public via Internet



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   marketplace websites and/or Internet based social media websites under the Seller IDs. In so

   advertising their stores and products, Defendants improperly and unlawfully use one or more of

   the adidas Marks without authority.

          30.     As part of their overall unlawful scheme, most Defendants are, upon information

   and belief, concurrently employing and benefitting from substantially similar, advertising and

   marketing strategies based, in large measure, upon an illegal use of counterfeits and

   infringements of the adidas Marks. Specifically, Defendants are using counterfeits and

   infringements of Plaintiffs’ famous names or trademarks to make their e-commerce stores and

   social media accounts selling illegal goods appear more relevant and attractive to consumers

   searching for both Plaintiffs’ and non-Plaintiffs’ goods and information online. By their actions,

   Defendants are contributing to the creation and maintenance of an illegal marketplace operating

   in parallel to the legitimate marketplace for Plaintiffs’ genuine goods. Defendants are causing

   individual, concurrent and indivisible harm to Plaintiffs and the consuming public by (i)

   depriving Plaintiffs of their right to fairly compete for space online and within search engine

   results and reducing the visibility of Plaintiffs’ genuine goods on the World Wide Web, (ii)

   causing an overall degradation of the value of the goodwill associated with the adidas Marks,

   and/or (iii) increasing Plaintiffs’ overall cost to market their goods and educate consumers about

   their brands via the Internet.

          31.     Defendants are concurrently conducting and targeting their counterfeiting and

   infringing activities toward consumers and likely causing unified harm within this district and

   elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

   consuming public for Defendants’ own benefit.




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           32.     At all times relevant hereto, Defendants in this action have had full knowledge of

   Plaintiffs’ ownership of the adidas Marks, including their, exclusive rights to use and license

   such intellectual property and the goodwill associated therewith.

           33.     Defendants’ use of the adidas Marks, including the promotion and advertisement,

   reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

   Plaintiffs’ consent or authorization.

           34.     Defendants are engaging in the above-described illegal counterfeiting and

   infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

   Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputations. If

   Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

   permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

   harmed.

           35.     Defendants’ above identified infringing activities are likely to cause confusion,

   deception and mistake in the minds of consumers before, during, and after the time of purchase.

   Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

   customers, the public, and the trade into believing there is a connection or association between

   Plaintiffs’ genuine goods and Defendants’ Counterfeit Goods, which there is not.

           36.     Given the visibility of Defendants’ various e-commerce stores and social media

   accounts, and the similarity of their actions, it is clear Defendants are either affiliated, or at a

   minimum, cannot help but know of each other’s existence and the unified harm likely to be

   caused to Plaintiffs and the overall consumer market in which they operate as a result of

   Defendants’ concurrent actions.




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          37.     Although some Defendants may be physically acting independently, they may

   properly be deemed to be acting in concert because the combined force of their actions serves to

   multiply the harm caused to Plaintiffs.

          38.     Defendants’ payment and financial accounts, including but not limited to those

   specifically set forth on Schedule “A,” are being used by Defendants to accept, receive, and

   deposit profits from Defendants’ trademark counterfeiting and infringing and unfairly

   competitive activities connected to their Seller IDs and any other alias seller identification names

   used or controlled by them.

          39.     Further, Defendants are likely to transfer or secret their assets to avoid payment of

   any monetary judgment awarded to Plaintiffs.

          40.     Plaintiffs have no adequate remedy at law.

          41.     Plaintiffs are suffering irreparable injury and have suffered substantial damages

   because of Defendants’ unauthorized and wrongful use of the adidas Marks. If Defendants’

   counterfeiting and infringing and unfairly competitive activities are not preliminarily and

   permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

   harmed.

          42.     The harm and damages sustained by Plaintiffs have been directly and proximately

   caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

   sale of their Counterfeit Goods.

             COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
               PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

          43.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 49 above.




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          44.     This is an action for trademark counterfeiting and infringement against

   Defendants based on their use of counterfeit and confusingly similar imitations of the adidas

   Marks in commerce in connection with the promotion, advertisement, distribution, offering for

   sale and/or sale of the Counterfeit Goods.

          45.     Specifically, Defendants are promoting and otherwise advertising, selling,

   offering for sale, and distributing products using counterfeits and/or infringements of one or

   more of the adidas Marks. Defendants are continuously infringing and inducing others to

   infringe the adidas Marks by using one or more of the adidas Marks to advertise, promote, offer

   to sell, and/or sell counterfeit and infringing branded goods.

          46.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

   and are causing confusion, mistake, and deception among members of the trade and the general

   consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

          47.     Defendants’ unlawful actions have caused and are continuing to cause

   unquantifiable damages to Plaintiffs and are unjustly enriching Defendants with profits at

   Plaintiffs’ expense.

          48.     Defendants’ above-described unlawful actions constitute counterfeiting and

   infringement of the adidas Marks in violation of Plaintiffs’ rights under § 32 of the Lanham Act,

   15 U.S.C. § 1114.

          49.     Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

   continue to suffer irreparable injury and damages due to Defendants’ above-described activities

   if Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

   continue to wrongfully profit from their illegal activities.




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                     COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

           50.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 49 above.

           51.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

   one or more of the adidas Marks have been widely advertised and offered for sale throughout the

   United States via the Internet.

           52.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

   one or more of the adidas Marks are virtually identical in appearance to Plaintiffs’ genuine

   goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

   Defendants’ activities are likely to cause confusion among consumers as to at least the origin or

   sponsorship of their Counterfeit Goods.

           53.     Defendants have used in connection with their advertisement, offer for sale, and

   sale of the Counterfeit Goods, false designations of origin and false descriptions and

   representations, including words or symbols and trade dress which falsely describe or represent

   such goods and have caused such goods to enter commerce in the United States with full

   knowledge of the falsity of such designations of origin and such descriptions and representations,

   all to Plaintiffs’ detriment.

           54.     Defendants have each authorized infringing uses of one or more of the adidas

   Marks in Defendants’ advertisement and promotion of their counterfeit and infringing branded

   goods. Some Defendants have also misrepresented to members of the consuming public that the

   Counterfeit Goods being advertised and sold by them are genuine, non-infringing goods.

           55.     Additionally, many Defendants are using counterfeits and infringements of one or

   more of the adidas Marks to unfairly compete with Plaintiffs and others for space within organic

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   and paid search engine and social media results. Defendants are thereby jointly (i) depriving

   Plaintiffs of valuable marketing and educational space online which would otherwise be

   available to Plaintiffs and (ii) reducing the visibility of Plaintiffs’ genuine goods on the World

   Wide Web and across social media platforms.

          56.     Defendants’ above-described actions are in violation of Section 43(a) of the

   Lanham Act, 15 U.S.C. §1125(a).

          57.     Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

   continue to suffer both individual and indivisible irreparable injury and damages due to

   Defendants’ above-described activities if Defendants are not preliminarily and permanently

   enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                        COUNT III - COMMON LAW UNFAIR COMPETITION

          58.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 49 above.

          59.     This is an action against Defendants based on their promotion, advertisement,

   distribution, sale, and/or offering for sale of goods using or bearing marks which are virtually

   identical to one or more of the adidas Marks in violation of Florida’s common law of unfair

   competition.

          60.     Specifically, Defendants are promoting and otherwise advertising, selling,

   offering for sale, and distributing goods using counterfeits and infringements of one or more of

   the adidas Marks. Defendants are also using counterfeits and infringements of one or more of

   the adidas Marks to unfairly compete with Plaintiffs and others for (i) space in search engine and

   social media results across an array of search terms and/or (ii) visibility on the World Wide Web.




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            61.    Defendants’ infringing activities are likely to cause and are causing confusion,

   mistake, and deception among consumers as to the origin and quality of Defendants’ e-

   commerce stores and social media accounts as a whole and all products sold therein by their use

   of the adidas Marks.

            62.    Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

   continue to suffer irreparable injury and damages due to Defendants’ above-described activities

   if Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

   continue to wrongfully profit from their illegal activities.

                  COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

            63.    Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 49 above.

            64.    This is an action for common law trademark infringement against Defendants

   based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

   using one or more of the adidas Marks.

            65.    Plaintiffs are the owners of all common law rights in and to the adidas Marks.

            66.    Specifically, each Defendant is promoting and otherwise advertising, distributing,

   offering for sale, and selling goods using and using infringements of one or more of the adidas

   Marks.

            67.    Defendants infringing activities are likely to cause and are causing confusion,

   mistake, and deception among consumers as to the origin and quality of Defendants’ Counterfeit

   Goods bearing the adidas Marks.

            68.    Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

   continue to suffer irreparable injury and damages due to Defendants’ above-described activities



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   if Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

   continue to wrongfully profit from their illegal activities.

                                        PRAYER FOR RELIEF

          69.     WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

   an award of equitable relief and monetary relief against Defendants as follows:

                  a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

   U.S.C. § 1116, 28 U.S.C. § 1651(a), The All Writs Act, and Federal Rule of Civil Procedure 65

   enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

   concert or participation therewith, from manufacturing or causing to be manufactured, importing,

   advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

   infringing, counterfeiting, or diluting the adidas Marks; from using the adidas Marks, or any

   mark or design similar thereto, in connection with the sale of any unauthorized goods; from

   using any logo, trade name or trademark or design that may be calculated to falsely advertise the

   services or goods of Defendants as being sponsored by, authorized by, endorsed by, or in any

   way associated with Plaintiffs; from falsely representing themselves as being connected with

   Plaintiffs, through sponsorship or association, or engaging in any act that is likely to falsely

   cause members of the trade and/or of the purchasing public to believe any goods or services of

   Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

   using any reproduction, counterfeit, infringement, copy, or colorable imitation of the adidas

   Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by

   Defendants; from affixing, applying, annexing or using in connection with the sale of any goods,

   a false description or representation, including words or other symbols tending to falsely describe

   or represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs



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   and from offering such goods in commerce; from engaging in search engine optimization

   strategies using colorable imitations of Plaintiffs’ names or trademarks; and from otherwise

   unfairly competing with Plaintiffs.

                   b.     Entry of temporary restraining, preliminary, and permanent injunctions

   pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent authority, enjoining

   Defendants and all third parties with actual notice of an injunction issued by the Court from

   participating in, including providing financial services, technical services or other support to,

   Defendants in connection with the sale and distribution of non-genuine goods bearing and/or

   using counterfeits of the adidas Marks.

                   c.     Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

   the Court’s inherent authority, that, upon Plaintiffs’ request, the applicable governing Internet

   marketplace and social media website operators and/or administrators for the Seller IDs who are

   provided with notice of an injunction issued by the Court disable and/or cease facilitating access

   to the Seller IDs, and any other alias e-commerce stores, social media accounts, and seller

   identification names being used and/or controlled by Defendants to engage in the business of

   marketing, offering to sell and/or selling goods bearing counterfeits and infringements of the

   adidas Marks.

                   d.     Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

   the Court’s inherent authority, that, upon Plaintiffs’ request, any Internet marketplace and social

   media website operators and/or administrators for the Seller IDs, who are provided with notice of

   an injunction issued by the Court identify any e-mail address known to be associated with

   Defendants’ respective Seller ID.




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                    e.    Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

   the Court’s inherent authority, that, upon Plaintiffs’ request, any Internet marketplace and social

   media website operators and/or administrators who are provided with notice of an injunction

   issued by the Court permanently remove from the multiple platforms, which include, inter alia, a

   Direct platform, Group platform, Seller Product Management platform, Vendor Product

   Management platform, and Brand Registry platform, any and all listings and associated images

   of goods bearing and/or using counterfeits and/or infringements of the adidas Marks via the e-

   commerce stores and social media accounts operating under the Seller IDs, and upon Plaintiffs’

   request, any other listings and images of goods bearing and/or using counterfeits and/or

   infringements of the adidas Marks associated with and/or linked to the same sellers or linked to

   any other alias e-commerce stores, social media accounts, and seller identification names being

   used and/or controlled by Defendants to promote, offer for sale and/or sell goods bearing

   counterfeits and/or infringements of the adidas Marks.

                    f.    Entry of an order pursuant to 15 U.S.C. § 1116, 28 U.S.C. § 1651(a), The

   All Writs Act, Federal Rule of Civil Procedure 65, and the Court’s inherent authority, that, upon

   Plaintiffs’ request, Defendants and any Internet marketplace and social media website operators

   and/or administrators who are provided with notice of an injunction issued by the Court,

   immediately cease fulfillment of and sequester all goods of each Defendant bearing one or more

   of the adidas Marks in its inventory, possession, custody, or control, and surrender those goods

   to Plaintiffs.

                    g.    Entry of an order requiring Defendants to account to and pay Plaintiffs for

   all profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

   unfairly competitive activities and that the award to Plaintiffs be trebled, as provided for under



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   15 U.S.C. §1117, or that Plaintiffs be awarded statutory damages from each Defendant in the

   amount of two million dollars ($2,000,000.00) per each counterfeit trademark used and product

   type sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                  h.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

   costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                  i.      Entry of an order pursuant to 15 U.S.C. § 1116, 28 U.S.C. § 1651(a), The

   All Writs Act, Federal Rule of Civil Procedure 65, and the Court’s inherent authority that, upon

   Plaintiffs’ request, Defendants and any financial institutions, payment processors, banks, escrow

   services, money transmitters, or marketplace platforms, and their related companies and

   affiliates, identify and restrain all funds, up to and including the total amount of judgment, in all

   financial accounts and/or sub-accounts used in connection with the Seller IDs or other alias seller

   identification or e-commerce store names, social media accounts, domain names, and/or websites

   used by Defendants presently or in the future, as well as any other related accounts of the same

   customer(s) and any other accounts which transfer funds into the same financial institution

   account(s), and remain restrained until such funds are surrendered to Plaintiffs in partial

   satisfaction of the monetary judgment entered herein.

                  j.      Entry of an award of pre-judgment interest on the judgment amount.

                  k.      Entry of an Order requiring Defendants to pay the cost necessary to

   correct any erroneous impression the consuming public may have received or derived concerning

   the nature, characteristics, or qualities of Defendants’ products, including without limitation, the

   placement of corrective advertising and providing written notice to the public.

                  l.      Entry of an order for any further relief as the Court may deem just and

   proper.



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   DATED: September 23, 2021.         Respectfully submitted,

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                                        SCHEDULE “A”




     [This page is the subject of Plaintiff’s Motion to File Under Seal. As such, this page has
                         been redacted in accordance with L.R. 5.4(b)(1)]




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